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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-CR-566 (RCL)
               v.                              :
                                               :
DAVID NICHOLAS DEMPSEY                         :
                                               :
                       Defendant.              :

                        JOINT MOTION TO CONTINUE AND
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and defendant, David Nicholas Dempsey, by and through his counsel, Michelle

Peterson, jointly move to vacate and continue the status hearing scheduled for May 22, 2023, at

11:00 a.m. for approximately 30 days, and further to exclude the time within which trial must

commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., from May 22, 2023, until the

next status conference on the basis that the ends of justice served by taking such actions

outweigh the best interest of the public and the defendant in a speedy trial pursuant to the factors

described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).

       The defendant requests additional time to review discovery and both parties seek

additional time to explore a potential pre-trial resolution of this matter. The parties submit that

under these circumstances, continuing the May 22, 2023, status hearing for 30 days would best serve

the ends of justice and that such a continuance outweighs the interests of the public and the

defendant in a speedy trial.
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                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    DC Bar No. 481052


/s/ Michelle Peterson                     By:       /s/ Douglas B. Brasher
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